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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    RICKY KAMDEM-OUAFFO,

                   Plaintiff,
                                          Civil No. 18-00298 (NLH/JS)
          v.
                                          Civil No. 18-13119 (NLH/JS)
    CAMPBELL SOUP COMPANY, et
    al.,
                                          ORDER
                   Defendants.



      For the reasons expressed in the Court's Opinion filed

today,

      IT IS on this    20th   day of      October     , 2020

      ORDERED that Defendants Campbell Soup Company, Scott

Keller, Duane Morris LLP, Trevor H. Taniguchi, Denise M.

Morrison, and Carlos J. Barroso’s motion to consolidate the

18-298 and 18-13119 actions [ECF 184] is hereby GRANTED; and it

is further

      ORDERED that all filings in the consolidated action shall

be made in the 18-298 docket; and it is further

      ORDERED that Defendants Campbell Soup Company, Scott

Keller, Duane Morris LLP, Trevor H. Taniguchi, Denise M.

Morrison, and Carlos J. Barroso’s motions to strike the

complaint in the 18-13119 action, filed in both the 18-298

action [ECF 185] and the 18-13119 action [ECF 51], are hereby

GRANTED; and it is further
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      ORDERED that Plaintiff’s Complaint in the 18-13119 action

[ECF 1] is stricken in its entirety; and it is further

      ORDERED that Defendants Bernard E. Jacques, Dayne R.

Johnson, and McElroy, Deutsch, Mulvaney & Carpenter LLP’s motion

to dismiss in the 18-13119 action [ECF 47] is hereby DENIED AS

MOOT; and it is further

      ORDERED that Plaintiff’s motion for default judgment in the

18-13119 action [ECF 54] is hereby DENIED AS MOOT; and it is

further

      ORDERED that Plaintiff’s motion for a preliminary

injunction in the 18-13119 action [ECF 60] is hereby DENIED AS

MOOT; and it is further

      ORDERED that Defendant Task Management Inc.’s motion for

summary judgment in the 18-298 action [ECF 183] is hereby

GRANTED; and it is further

      ORDERED that Plaintiff’s motion for summary judgment in the

18-298 action [ECF 189] is hereby DENIED; and it is further

      ORDERED that Plaintiff’s motion for sanctions in the 18-298

action [ECF 191] is hereby DENIED; and it is further

      ORDERED that the Clerk of the Court shall mark these

matters as CLOSED.



                                             /s Noel. L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.


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